Case 1:17-cr-00017-MAC-ZJH   Document 61   Filed 09/21/17   Page 1 of 5 PageID #:
                                    128
Case 1:17-cr-00017-MAC-ZJH   Document 61   Filed 09/21/17   Page 2 of 5 PageID #:
                                    129
Case 1:17-cr-00017-MAC-ZJH   Document 61   Filed 09/21/17   Page 3 of 5 PageID #:
                                    130
Case 1:17-cr-00017-MAC-ZJH   Document 61   Filed 09/21/17   Page 4 of 5 PageID #:
                                    131
    Case 1:17-cr-00017-MAC-ZJH     Document 61     Filed 09/21/17   Page 5 of 5 PageID #:
                                          132
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               SIGNED this the 21st day of September, 2017.




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                                             KEITH F. GIBLIN
                                             UNITED STATES MAGISTRATE JUDGE
